        Case 1:20-cv-04439-ALC-KHP Document 27 Filed 11/09/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                                                         11/9/2020
MANOUCHEKA FRANCOIS,

                                                Plaintiff,                        20-CV-4439 (ALC) (KHP)

                             -against-                                           ORDER SCHEDULING CASE
                                                                                MANAGEMENT CONFERENCE

METRO-MORTH COMMUTER RAILROAD,


                                                Defendant.

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KATHARINE H. PARKER, United States Magistrate Judge:

         A case management conference in this case is hereby scheduled for January 12, 2021 at

2:00 p.m. Counsel for the parties are directed to call the Court’s conference line on the

scheduled date and at the scheduled time. Please dial (866) 434-5269, access code 4858267.



         SO ORDERED.

DATED:             New York, New York
                   November 9, 2020

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                                                                     KATHARINE H. PARKER
                                                                     United States Magistrate Judge
